Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 1 of 25 Page ID #:1




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13
                         UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15 ADRIANNE BELARDES and MARY                   Case No.:
   SZANYI-COFFEY, individually and on
16 behalf of all others similarly situated,

17                            Plaintiffs,       CLASS ACTION COMPLAINT
18
           vs.                                  JURY TRIAL DEMANDED
19
20 LOANDEPOT.COM, LLC,

21                            Defendant.
22

23

24

25 //

26 //

27 //

28 //

                                              -1-
                                    CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 2 of 25 Page ID #:2




 1                                    INTRODUCTION
 2        1.       Plaintiffs ADRIANNE BELARDES and MARY SZANYI-COFFEY
 3 (“Plaintiffs”), individually and on behalf of all others similarly situated, brings this

 4 nationwide Class Action Complaint for damages, injunctive relief, and any other

 5 available legal or equitable remedies, resulting from the illegal actions of Defendant

 6 LOANDEPOT.COM, LLC (“Defendant”), in negligently and/or willfully contacting

 7 Plaintiffs on their telephone, in violation of the Telephone Consumer Protection Act,

 8 (TCPA) 47 U.S.C. §§ 227, et seq., and related regulations, including the National Do

 9 Not Call provision of 47 C.F.R. § 64.1200(c), and the Florida Telephone Solicitation
10 Act (FTSA), Fla. Stat. § 501.059, thereby invading Plaintiffs’ and similarly situated

11 individuals’ privacy.

12        2.       In 1991, Congress passed the TCPA in response to complaints about
13 certain telemarketing practices. In enacting the TCPA, Congress intended to give

14 consumers a choice as to how creditors and telemarketers may call them and made

15 specific findings that “[t]echnologies that might allow consumers to avoid receiving

16 such calls are not universally available, are costly, are unlikely to be enforced, or

17 place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.

18        3.       The United States Court of Appeals for the Ninth Circuit has held that
19 “[u]nsolicited telemarketing phone calls or text messages, by their nature, invade the
20 privacy and disturb the solitude of their recipients. A plaintiff alleging a violation

21 under the TCPA ‘need not allege any additional harm beyond the one Congress has

22 identified.’”    Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017 U.S. App.
23 LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S.

24 Ct. 1540, 1549 (2016) (emphasis original)).

25        4.       Although a caller may obtain prior express consent from a consumer,
26 prior express consent may nevertheless be revoked.

27        5.       The right to revocation is consistent with the common law principle that
28 consent is revocable and honors the purpose of the TPCA.

                                            -2-
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 3 of 25 Page ID #:3




 1        6.     Plaintiffs allege as follows upon personal knowledge as to themselves
 2 and their own acts and experiences, and, as to all other matters, upon information and

 3 belief, including investigation conducted by their attorneys.

 4        7.     While many violations are described below with specificity, this
 5 Complaint alleges violations of the statutes cited in their entirety.

 6        8.     Unless otherwise stated, Plaintiffs allege that any violations by
 7 Defendant was knowing and intentional, and that Defendant did not maintain

 8 procedures reasonably adapted to avoid any such violation.

 9        9.     Unless otherwise indicated, the use of any Defendant’s name in this
10 Complaint includes all agents, employees, vendors, officers, members, directors,

11 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives,

12 and insurers of that Defendant named.

13                             JURISDICTION AND VENUE
14        10.    This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331
15 because this case arises out of violations of federal law. 47 U.S.C. § 227(c); and

16 supplemental jurisdiction over all other claims that are related to claims in the action

17 pursuant to 28 U.S.C. § 1367.

18        11.    Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because
19 Plaintiffs allege a national class, which will result in at least one class member
20 belonging to a different state than that of Defendant. Plaintiffs seek up to $1,500.00

21 (one-thousand-five-hundred dollars) in damages for each call-in violation of the

22 TCPA, which, when aggregated among a proposed class numbering in the tens of

23 thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for

24 federal court jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore,

25 both the elements of CAFA diversity jurisdiction and CAFA jurisdiction are present.

26        12.    Because Defendant conducts business within the State of California,
27 personal jurisdiction is established.

28        13.    Venue is proper in the United States District Court for the Southern
                                            -3-
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 4 of 25 Page ID #:4




 1 District of California pursuant to 18 U.S.C. § 1391 because the conduct complained

 2 of herein occurred within this judicial district and many of the acts and transactions

 3 giving rise to this action occurred in this district because:

 4                (a)     Defendant is authorized to conduct business in this district and
 5                        has intentionally availed itself of the laws and markets within this
 6                        district;
 7                (b)     Defendant is located in this district;
 8                (b)     Defendant does substantial business within this district;
 9                (c)     Defendant is subject to personal jurisdiction in this judicial
10                        district because Defendant has availed itself of the laws and
11                        markets within this district; and,
12                (d)     the harm to Plaintiffs originated from within this judicial district.
13                                            PARTIES
14
           14.    Plaintiff Adrianne Belardes is, and at all times mentioned herein was, a
15
     citizen and resident of the State of California. Plaintiff Belardes is, and at all times
16
     mentioned herein was, a “person,” as defined by 47 U.S.C. § 153(39).
17
           15.    Plaintiff Mary Szanyi-Coffey is, and at all times mentioned herein was, a
18
     citizen and resident of the State of Florida. Plaintiff Szanyi-Coffey is, and at all times
19
     mentioned herein was, a “person,” as defined by 47 U.S.C. § 153(39).
20
           16.    Defendant is, and at all times mentioned herein was, a domestic limited
21
     liability company whose principal place of business and/or headquarters is located in
22
     Irvine, California. Defendant is, and at all times mentioned herein was, a “person,”
23
     as defined by 47 U.S.C. § 153(39). At all times relevant herein, Defendant conducted
24
     business in the State of California and within this judicial district.
25
                        The Telephone Consumer Protection Act (TCPA)
26
                                       47 U.S.C. §§ 227, et seq.
27
           17.    The TCPA prohibits: (1) any person from calling a cellular telephone
28
     number; (2) using an automatic telephone dialing system or artificial or prerecorded
                                                -4-
                                      CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 5 of 25 Page ID #:5




 1
     voice; (3) without the recipient’s prior express consent. 47 U.S.C. § 227(b)(1)(A).
 2
           18.    In an action under the TCPA, a plaintiff must only show that the
 3
     defendant “called a number assigned to a cellular telephone service using an
 4
     automatic dialing system or prerecorded voice.” Breslow v. Wells Fargo Bank, N.A.,
 5
     857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).
 6
           19.    The Federal Communications Commission (“FCC”) is empowered to
 7
     issue rules and regulations implementing the TCPA.             According to the FCC’s
 8
     findings, calls in violation of the TCPA are prohibited because, as Congress found,
 9
     automated or prerecorded telephone calls are a greater nuisance and invasion of
10
     privacy than live solicitation calls, and such calls can be costly and inconvenient.
11
     The FCC also recognized that wireless customers are charged for incoming calls
12
     whether they pay in advance or after the minutes are used. Rules and Regulations
13
     Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-
14
     278, Report and Order, 18 FCC Rcd 14014 (2003).
15
           20.    In 2012, the FCC issued an order tightening the restrictions for
16
     automated telemarketing calls, requiring “prior express written consent” for such
17
     calls to wireless numbers. See In the Matter of Rules & Regulations Implementing
18
     the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb. 15, 2012)
19
     (emphasis supplied).
20
           21.    To obtain express written consent for telemarketing calls, a defendant
21
     must establish that it secured the plaintiff’s signature in a form that gives the plaintiff
22
     a “‘clear and conspicuous disclosure’ of the consequences of providing the requested
23
     consent….and having received this information, agrees unambiguously to receive
24
     such calls at a telephone number the [plaintiff] designates.”            In re Rules &
25
     Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830,
26
     1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).
27
           22.    The TCPA regulations promulgated by the FCC define “telemarketing”
28
     as “the initiation of a telephone call or message for the purpose of encouraging the
                                             -5-
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 6 of 25 Page ID #:6




 1
     purchase or rental of, or investment in, property, goods, or services.” 47 C.F.R. §
 2
     64.1200(f)(12). In determining whether a communication constitutes telemarketing, a
 3
     court must evaluate the ultimate purpose of the communication. See Golan v. Veritas
 4
     Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).
 5
           23.    “‘Telemarketing’ occurs when the context of a call indicates that it was
 6
     initiated and transmitted to a person for the purpose of promoting property, goods, or
 7
     services.” Golan, 788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. §
 8
     64.1200(f)(12); In re Rules and Regulations Implementing the Telephone Consumer
 9
     Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL 21517853, at *49).
10
           24.    The FCC has explained that calls motivated in part by the intent to sell
11
     property, goods, or services are considered telemarketing under the TCPA. See In re
12
     Rules and Regulations Implementing the Telephone Consumer Protection Act of
13
     1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003). This is true whether call recipients are
14
     encouraged to purchase, rent, or invest in property, goods, or services during the call
15
     or in the future. Id.
16
           25.    In other words, offers “that are part of an overall marketing campaign to
17
     sell property, goods, or services constitute” telemarketing under the TCPA. See In re
18
     Rules and Regulations Implementing the Telephone Consumer Protection Act of
19
     1991, 18 FCC Rcd. 14014, ¶ 136 (2003).
20
           26.    If a call is not deemed telemarketing, a defendant must nevertheless
21
     demonstrate that it obtained the plaintiff’s prior express consent. See In the Matter of
22
     Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 FCC
23
     Rcd. 7961, 7991-92 (2015) (requiring express consent “for non-telemarketing and
24
     non-advertising calls.”)
25
           27.    As recently held by the United States Court of Appeals for the Ninth
26
     Circuit: “Unsolicited telemarketing phone calls or text messages, by their nature,
27
     invade the privacy and disturb the solitude of their recipients. A plaintiff alleging a
28
     violation under the TCPA ‘need not allege any additional harm beyond the one
                                            -6-
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 7 of 25 Page ID #:7




 1
     Congress has identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017
 2
     U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.
 3
     Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).
 4
           28.    The TCPA, through the accompanying FCC regulations, 47 C.F.R. §
 5
     64.1200(c) et seq., affords special protections for “residential subscribers” who
 6
     register their phone numbers on the National Do Not Call Registry.
 7
           29.    Since 2003, persons who register cell phone numbers on the National Do
 8
     Not Call Registry have been considered to be “residential subscribers” for the
 9
     purpose of 227(c)(5) and the National Do Not Call Registry. In Re Rules &
10
     Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 F.C.C. Rcd.
11
     14014, 14039 (2003) (“we will presume wireless subscribers who ask to be put on the
12
     national do-not-call list to be ‘residential subscribers.’”)
13
           30.    47 U.S.C. § 227(c)(5) and 47 C.F.R. § 64.1200(c) provide that each
14
     person who receives more than one call within a 12-month period on their phone,
15
     where that called party did not provide express written consent upon a clear and
16
     conspicuous disclosure from the telemarketer, after the phone number was registered
17
     on the National Do Not Call Registry for more than 31 days is entitled to recover a
18
     penalty of $500 per call, and up to $1,500 per call if the TCPA is willfully or
19
     knowingly violated.
20        31. Decades after the TCPA passed into law, it is still unfortunately the case
21 that “[m]onth after month, unwanted telemarketing calls and texts top the list of

22 consumer complaints received by the [Federal Communications] Commission.”

23 Omnibus TCPA Order, 30 FCC Rcd. 7961, 7964 (F.C.C. July 10, 2015).

24                       The Florida Telephone Solicitation Act (FTSA)
25                                       Fla. Stat. § 501.059
26         32.    It is a violation of the FTSA to “make or knowingly allow a telephonic
27 sales call to be made if such call involves . . . the playing of a recorded message when

28

                                             -7-
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 8 of 25 Page ID #:8




 1 a connection is completed to a number without the prior express written consent of

 2 the called party.” Fla. Stat § 501.059(8)(A).

 3           33.   The statute defines “telephonic sales call” as a “telephone call, text
 4 message, or voicemail transmission to a consumer for the purpose of soliciting a sale

 5 of any consumer goods or services, soliciting an extension of credit for consumer

 6 goods services, or obtaining information that will or may be used for the direct

 7 solicitation of a sale of consumer goods or services or an extension of credit for such

 8 purposes.” Fla. Stat. § 501.059(1)(I).

 9           34.   A person will be defined as a “called party” if they are a “person who is
10 the regular user of the telephone number that receives a telephonic sales call,” under

11 Fla. Stat. § 501.059(1)(A).

12           35.   An “unsolicited telephonic sales call” is one that is made other than in
13 direct response to the express request of the person who is called. under Fla. Stat. §

14 501.059(4)(K).

15                               FACTUAL ALLEGATIONS
16           36.   Plaintiffs incorporate by reference all of the above paragraphs of this
17 Complaint as though fully stated herein.

18           37.   According to its website, Defendant is the nation’s fifth largest retail
19 mortgage lender and the second largest nonbank retail originator, funding more than
20 $275 billion since inception, with a nationwide team of 6,000-plus members, and

21 more than 27,000 customers each month.1

22           38.   In Defendant’s overzealous attempt to market its services and grow
23 significantly, Defendant knowingly and willfully made (and continues to make)

24 unsolicited telemarketing phone calls, including calls utilizing an artificial or

25 prerecorded voice, without the prior express written consent of the call recipients.

26           39.   Through this conduct, Defendant has invaded the personal privacy of
27

28   1
         https://www.loandepot.com/about
                                            -8-
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 9 of 25 Page ID #:9




 1 Plaintiffs and other similarly situated consumers.

 2         40.   Plaintiff Adrianne Belardes’ cellular telephone number ending in 4642
 3 has been registered with the National Do Not Call Registry since October 7, 2005.

 4         41.   Plaintiff Mary Szanyi-Coffey’s cellular telephone number ending in
 5 9902 has been registered with the National Do Not Call Registry since July 25, 2008.

 6         42.   Plaintiffs’ cellular telephone numbers are used for personal and
 7 residential purposes.

 8         43.   Plaintiffs did not provide Defendant with their cellular telephone number
 9 at any point in time, nor did they give permission for Defendant to call them.
10         44.   Plaintiffs did not give Defendant prior express invitation or express
11 written consent for Defendant to make calls to Plaintiffs’ cellular telephone numbers

12 utilizing an artificial or prerecorded voice pursuant to 47 U.S.C. § 227 (b)(1)(A).

13         45.   Plaintiffs did not have an established business relationship with
14 Defendant during the time of the telephone solicitations from Defendant.

15         46.   Plaintiffs did not have a personal relationship with Defendant at any
16 point in time.

17         47.   Plaintiffs did not give Defendant prior express invitation or express
18 written consent for Defendant to call Plaintiffs’ cellular telephone numbers for

19 marketing or solicitation purposes.
20         48.   Defendant is required to check the National Do Not Call Registry before
21 attempting to call. 47 U.S.C. § 227(c)(3)(F).

22         49.   Despite being on the National Do Not Call Registry, Defendant made
23 several unsolicited telemarketing calls to Plaintiffs on their cellular telephones,

24 including calls from Defendant’s telephone numbers 833-557-1381 and 877-408-

25 5379.

26         50.   Defendant made numerous unsolicited telemarketing calls to Plaintiff
27 Belardes to their cellular telephone from 877-408-5379.

28         51.   For example, on or about July 1, 2023, Defendant made at least four (4)
                                           -9-
                                 CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 10 of 25 Page ID #:10




  1 unsolicited telemarketing calls to Plaintiff Belardes’ cellular telephone from 877-408-

  2 5379.

  3         52.   In addition, on or about July 5, 2023, Defendant made at least three (3)
  4 unsolicited telemarketing calls to Plaintiff Belardes’ cellular telephone from 877-408-

  5 5379.

  6         53.   Also, on or about August 22, 2023, at approximately 1:10 p.m. PT,
  7 Defendant made an unsolicited telemarketing call to Plaintiff Belardes to their

  8 cellular telephone from 877-408-5379 utilizing an artificial and/or prerecorded voice;

  9 and left Plaintiff Belardes a voicemail which included a prerecorded voice message.
 10         54.   It was evident to Plaintiff Belardes that the voice message she heard was
 11 prerecorded because, inter alia: (a) the generic content of the voice message; and (c)

 12 the tone, cadence, and inflection of the voice message, which sounded to the Plaintiff

 13 Belardes’ ears like a prerecorded message, rather than a personal voice message that

 14 was placed personally for her by a live person.

 15         55.   Based on the Plaintiff Belardes’ own personal experience, the above-
 16 described call and/or voice message received from Defendant clearly sounded like a

 17 prerecorded voice message.

 18         56.   Plaintiff Belardes requested that Defendant stop making calls to her
 19 cellular telephone.
 20         57.   Despite Plaintiff Belardes’ requests to Defendant to cease such calls,
 21 Defendant persisted to bombard Plaintiff Belardes with unsolicited telemarketing

 22 calls, often numerous times a day.

 23         58.   Defendant made numerous unsolicited telemarketing calls to Plaintiff
 24 Szanyi-Coffey to their cellular telephone from 833-557-1381.

 25         59.   For example, on or about April 7, 2023, at approximately 1:35 p.m. ET,
 26 Defendant made an unsolicited telemarketing call to Plaintiff Szanyi-Coffey to their

 27 cellular telephone from 833-557-1381.

 28

                                           - 10 -
                                 CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 11 of 25 Page ID #:11




  1         60.   Plaintiff Szanyi-Coffey requested that Defendant stop making calls to
  2 her cellular telephone.

  3         61.   Despite Plaintiff Szanyi-Coffey’s request for Defendant to cease such
  4 calls, Defendant persisted to make unsolicited telemarketing calls to Plaintiff.

  5         62.   Specifically, minutes later, on or about April 7, 2023, at approximately
  6 1:37 p.m. ET, Defendant made another unsolicited telemarketing call and/or

  7 telephonic sales call to Plaintiff Szanyi-Coffey to her cellular telephone from 833-

  8 557-1381 utilizing an artificial and/or prerecorded voice; and left Plaintiff Szanyi-

  9 Coffey a voicemail which included a prerecorded voice message.
 10         63.   It was evident to Plaintiff Szanyi-Coffey that the voice message she
 11 heard was prerecorded because, inter alia: (a) the generic content of the voice

 12 message; and (c) the tone, cadence, and inflection of the voice message, which

 13 sounded to the Plaintiff Szanyi-Coffey’s ears like a prerecorded message, rather than

 14 a personal voice message that was placed personally for her by a live person.

 15         64.   Based on the Plaintiff Szanyi-Coffey’s own personal experience, the
 16 above-described call and/or voice message received from Defendant clearly sounded

 17 like a prerecorded voice message.

 18         65.   The above-described calls by Defendant to Plaintiffs constitute
 19 telephone solicitations pursuant to 47 C.F.R. § 64.1200(c), as they were an attempt to
 20 promote or sell Defendant’s lending programs or services.

 21         66.   Plaintiffs each received more than two telephone solicitations from
 22 Defendant within a 12-month period after their cellular telephone numbers were

 23 registered on the National Do Not Call Registry for at least 31 days.

 24         67.   Defendant’s unsolicited telephone calls to Plaintiffs constituted
 25 telemarketing and had a commercial purpose.

 26         68.   Upon information and belief, Defendant did not make such telephone
 27 solicitations in error.

 28         69.   Upon information and belief, at all relevant times, Defendant failed to
                                            - 11 -
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 12 of 25 Page ID #:12




  1 establish and implement reasonable practices and procedures to effectively prevent

  2 telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §

  3 227(c)(5), including 47 C.F.R. § 64.1200(c).

  4        70.    Upon information and belief, Defendant made the same or substantially
  5 similar above-described telephone solicitations en masse to thousands of consumers

  6 nationwide.

  7        71.    Because Plaintiffs were alerted when a call was made to Plaintiffs’
  8 cellular telephone, the unsolicited telephone solicitations that Defendant transmitted

  9 to Plaintiffs’ cellular devices invaded Plaintiffs’ privacy, caused aggravation,
 10 annoyance, intrusion upon on seclusion, and were a distraction and nuisance to

 11 Plaintiffs.

 12        72.    Plaintiffs were personally affected and damaged by Defendant’s
 13 aforementioned conduct because Plaintiffs each suffered an invasion of a legally

 14 protected interest in privacy, which is specifically protected by the TCPA. Plaintiffs

 15 felt harassed, were frustrated, and distressed that Defendant annoyed Plaintiffs with

 16 unwanted telephonic solicitations without Plaintiffs’ prior express written consent,

 17 and while Plaintiffs’ telephone numbers were registered on the National Do Not Call

 18 Registry.

 19        73.    Defendant’s telephonic communications forced Plaintiffs and Class
 20 members to be deprived of the privacy and utility of their cellular telephones by

 21 forcing Plaintiffs and Class members to ignore or reject calls, silence their cellular

 22 telephones, and/or block incoming numbers, took up memory on Plaintiffs’ cellular

 23 phones, and/or interrupted their desired use of their cellular telephones, as a result of

 24 Defendant’s repeated calls in violation of the TCPA.

 25        74.    The TCPA was intended to give individuals control over how and where
 26 they receive telephonic communications. When Defendant send such text messages to

 27 consumers without their consent, Defendant fails to respect the limitations imposed

 28

                                            - 12 -
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 13 of 25 Page ID #:13




  1 by the TCPA. In doing so, Defendant invaded Plaintiffs’ and similarly situated

  2 individuals’ privacy and violates the spirit and intent behind the TCPA.

  3        75.    Through the above conduct, Defendant violated 47 U.S.C. §§ 227, et
  4 seq. and the National Do Not Call provision of 47 C.F.R. § 64.1200(c). and the

  5 Florida Telephone Solicitation Act (FTSA), Fla. Stat. § 501.059, thereby invading

  6 Plaintiffs’ and similarly situated individuals’ privacy and violating their legally

  7 protected rights.

  8                                        STANDING
  9        76.    Plaintiffs have standing under Article III of the Constitution of the
 10 United States of America because Plaintiffs’ claims state: (a) valid injuries in fact; (b)

 11 which are traceable to the conduct of Defendant; and (c) are likely to be redressed by

 12 a favorable judicial decision. See, Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547

 13 (2016); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

 14                                       Injury In Fact
 15        77.    Plaintiffs’ injury in fact must be both “concrete” and “particularized” in
 16 order to satisfy the requirements of Article III of the Constitution, as articulated in

 17 Spokeo. Spokeo, 136 S.Ct. at 1547.

 18        78.    For an injury to be “concrete” it must be “de facto”, meaning that it
 19 actually exists. Eichenberger v. ESPN, Inc, 876 F.3d 979, 982 (9th Cir. 2017). Here,
 20 Plaintiffs have each suffered a concrete injury as Defendant made numerous

 21 unauthorized solicitation calls to Plaintiffs’ cellular telephone numbers while

 22 Plaintiffs’ numbers were registered on the National Do Not Call Registry for more

 23 than 31 days, after Plaintiffs requested that Defendant stop making such calls to them,

 24 and/or using an artificial and/or prerecorded voice, without Plaintiff’s prior express

 25 consent. Such calls are a nuisance, an invasion of privacy, and an expense to

 26 Plaintiffs. All these injuries are de facto and concrete.

 27        79.    For an injury to be “particularized” means that the injury must “affect
 28 the [p]laintiff in a personal and individual way.” Spokeo, Inc., 136 S.Ct. at 1543. In

                                             - 13 -
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 14 of 25 Page ID #:14




  1 this case, Defendant invaded Plaintiffs’ privacy by making numerous unauthorized

  2 calls utilizing an artificial and/or prerecorded voice to Plaintiffs’ cellular telephone

  3 without Plaintiffs’ prior express consent.      Furthermore, Plaintiffs were disturbed,
  4 distracted, felt harassed and aggravated, by having to take time, reject or silence calls

  5 and dismiss alerts for unwanted calls from Defendant. All of these injuries are

  6 particularized and specific to Plaintiffs.

  7                            Traceable to Defendant’s Conduct
  8         80.   The second prong required to establish standing at the pleadings phase is
  9 that Plaintiffs must allege facts to show that its injuries are traceable to the conduct of
 10 Defendant.

 11         81.   The above calls are directly and explicitly linked to Defendant. The
 12 calls each indicated they were from Defendant and had common phrases, repeated the

 13 same words and telephone numbers which are found on Defendant’s website. The

 14 above-described calls from Defendant are the source of Plaintiffs’ injuries caused by

 15 Defendant. Therefore, Plaintiffs have illustrated facts above that show that Plaintiffs’

 16 injuries are traceable to the conduct of Defendant.

 17                                       Redressability
 18         82.   The third prong to establish standing at the pleadings phase requires
 19 Plaintiffs to allege facts to show that the injury is likely to be redressed by a favorable
 20 judicial opinion.

 21         83.   In the present case, Plaintiffs’ Prayer for Relief below includes a request
 22 for damages for each call made by Defendant, as authorized by statute for

 23 Defendants’ violations of 47 U.S.C. §§ 227, et seq., the National Do Not Call

 24 provision of 47 C.F.R. § 64.1200(c), and the Florida Telephone Solicitation Act

 25 (FTSA), Fla. Stat. § 501.059. The statutory damages were set by Congress and

 26 specifically redress the financial damages suffered by Plaintiffs.

 27         84.   Because on the foregoing, Plaintiffs have Article III standing to sue
 28 Defendant on the claims stated herein.

                                             - 14 -
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 15 of 25 Page ID #:15




  1                            CLASS ACTION ALLEGATIONS
  2         85.    Plaintiffs bring this action pursuant to Rule 23(a), Rule 23(b)(2), and
  3 Rule 23(b)(3) of the Federal Rules of Civil Procedure on behalf of themselves

  4 individually and on behalf of the Classes defined as follows:

  5                National Do Not Call Registry Class
  6                All persons within the United States, registered on the National
                   Do Not Call Registry for at least 31 days, to whom Defendant
  7                and/or a third party acting on Defendant’s behalf, made two
                   more telephone solicitations that promoted Defendant’s
  8                products or services, to a cellular telephone number within any
                   twelve-month period, within the four (4) years prior to the filing
  9                of this Complaint.
 10                Internal Do Not Call List Class:
 11                All persons within the United States who whom Defendant
                   and/or a third party acting on Defendant’s behalf made a
 12                telephone solicitation call to after a request from such person
                   for Defendant to not make calls to their cellular telephone
 13                number within the four (4) years prior to the filing of this
                   Complaint.
 14
                   Prerecorded Voice Class
 15
                   All persons within the United States who received any
 16                solicitation/telemarketing phone calls from Defendant to said
                   person’s cellular telephone made through the use of an artificial
 17                or prerecorded voice call, without such person’s prior express
                   consent to receiving such calls within the four years prior to the
 18                filing of this Complaint.
 19                FTSA Class
 20                All persons within the State of Florida who received any
                   solicitation/telemarketing phone calls with a recorded message
 21                when a connection was completed from Defendant to said
                   person’s cellular telephone and such person had not previously
 22                consented to receiving such calls within the four years prior to
                   the filing of this Complaint.
 23
            86.    Defendant and its employees or agents are excluded from the Classes.
 24
            87.    Plaintiffs do not know the number of members in each of the Classes,
 25
      but upon information and belief, the Classes’ members number in the thousands, if
 26
      not more. Thus, this matter should be certified as a Class action to assist in the
 27
      expeditious litigation of this matter.
 28

                                              - 15 -
                                    CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 16 of 25 Page ID #:16




  1        88.      Plaintiffs and members of the Classes were harmed by the acts of
  2 Defendant in at least the following ways: Defendant, either directly or through its

  3 agents, illegally contacted Plaintiffs and the members of the Classes via their

  4 telephones, for solicitation purposes, and/or utilizing an artificial or prerecorded

  5 voice, without prior express consent, thereby invading the privacy of said Plaintiffs

  6 and the Class members whose cellular telephone numbers were on the National Do

  7 Not Call Registry. Plaintiffs and the Class members were damaged thereby.

  8        89.      This suit seeks only damages and injunctive relief for recovery of
  9 economic injury on behalf of the Classes, and it expressly is not intended to request
 10 any recovery for personal injury and claims related thereto.

 11        90.      Plaintiffs reserve the right to expand the definition of the Classes to seek
 12 recovery on behalf of additional persons as warranted as facts are learned in further

 13 investigation and discovery.

 14        91.      The joinder of the Class members is impractical and the disposition of
 15 their claims in the Class Action will provide substantial benefits both to the parties

 16 and to the Court.       The Classes can be identified through Defendant’s records or
 17 Defendant’s agents’ records and the National Do Not Call Registry.

 18        92.      There is a well-defined community of interest in the questions of law
 19 and fact involved affecting the parties to be represented. The questions of law and
 20 fact common to the Classes predominate over questions which may affect individual

 21 Class members, including the following:

 22              a. Whether, within the four years prior to the filing of this Complaint,
 23                 Defendant or its agents made more than one telephone solicitations to
 24                 the members of the Class whose telephone numbers were on the
 25                 National Do Not Call Registry and who had neither an established
 26                 business relationship nor personal relationship with Defendant;
 27              b. Whether, within the four made prior to the filing of this Complaint,
 28                 Defendant or its agents placed more than one telephone solicitation calls
                                              - 16 -
                                    CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 17 of 25 Page ID #:17




  1                  to the members of the Class who requested that Defendant stop making
  2                  such calls to their telephone numbers;
  3                c. Whether Defendant obtained prior express written consent to make
  4                  telephone solicitation calls to Plaintiffs or the Class members’
  5                  telephones;
  6                d. Whether Defendant obtained prior express written consent to make
  7                  telephone solicitations to Plaintiffs or the Class members’ telephones
  8                  utilizing an artificial or prerecorded voice;
  9                e. Whether Plaintiffs and the Class members were damaged thereby, and
 10                  the extent of damages for such violation; and
 11                f. Whether Defendant and its agents should be enjoined from engaging in
 12                  such conduct in the future.
 13          93.     As a person who received numerous telephone solicitations from
 14 Defendant within a 12-month period, who did not have an established business

 15 relationship or personal relationship with Defendant, who did not provide Defendant

 16 prior express invitation or permission to receive telephone solicitations, and who did

 17 not provide Defendant prior express consent to receive telephone calls utilizing an

 18 artificial or prerecorded voice, Plaintiffs are each asserting claims that are typical of

 19 the Class. Plaintiffs will fairly and adequately represent and protect the interests of
 20 the Class in that Plaintiffs have no known interests antagonistic to any member of the

 21 Class.

 22          94.     Plaintiffs and the members of the Classes have all suffered irreparable
 23 harm and invasion of a legally protected interest in privacy, which is specifically

 24 addressed and protected by the TCPA, as a result of the Defendant’s unlawful and

 25 wrongful conduct. Absent a class action, the Classes will continue to be damaged

 26 and face irreparable harm. In addition, these violations of law will be allowed to

 27 proceed without remedy and Defendant will likely continue such illegal conduct.

 28 Because of the size of the individual Class member’s claims, few, if any, Class

                                                - 17 -
                                      CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 18 of 25 Page ID #:18




  1 members could afford to seek legal redress for the wrongs complained of herein.

  2        95.    Plaintiffs have retained counsel experienced in handling class action
  3 claims and claims involving violations of the Telephone Consumer Protection Act.

  4        96.    A class action is a superior method for the fair and efficient adjudication
  5 of this controversy. Class-wide damages are essential to induce Defendant to comply

  6 with federal and California law.       The interest of Class members in individually
  7 controlling the prosecution of separate claims against Defendant is small because the

  8 maximum statutory damages in an individual action for violation of privacy are

  9 minimal.     Management of these claims is likely to present significantly fewer
 10 difficulties than those presented in many class claims.

 11        97.    Defendant has acted on grounds generally applicable to the Class,
 12 thereby making appropriate final injunctive relief and corresponding declaratory

 13 relief with respect to the Classes as a whole.

 14                                 CAUSES OF ACTION
 15                                       COUNT I
                                VIOLATIONS OF THE TCPA
 16                               47 U.S.C. §§ 227, ET SEQ.
 17         (On Behalf of Plaintiffs and the National Do Not Call Registry Class)
 18        98.    Plaintiffs incorporate by reference all of the above paragraphs of this
 19 Complaint as though fully stated herein.
 20        99.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides
 21 that “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential

 22 telephone subscriber who has registered his or her telephone number on the national

 23 do-not-call registry of persons who do not wish to receive telephone solicitations that

 24 is maintained by the federal government.”

 25        100. 47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are
 26 applicable to any person or entity making telephone solicitations or telemarketing

 27

 28

                                             - 18 -
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 19 of 25 Page ID #:19




  1 calls to wireless telephone numbers.”2

  2        101. 47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall
  3 initiate any call for telemarketing purposes to a residential telephone subscriber

  4 unless such person or entity has instituted procedures for maintaining a list of persons

  5 who request not to receive telemarketing calls made by or on behalf of that person or

  6 entity.”

  7        102. Any “person who has received more than one telephone call within any
  8 12-month period by or on behalf of the same entity in violation of the regulations

  9 prescribed under this subsection may” may bring a private action based on a violation
 10 of said regulations, which were promulgated to protect telephone subscribers’ privacy

 11 rights to avoid receiving telephone solicitations to which they object. 47 U.S.C. §

 12 227(c).

 13       103.    The foregoing acts and omissions of Defendant constitute numerous and
 14 multiple negligent violations of the TCPA, including but not limited to each and

 15 every one of the above-cited provisions of 47 U.S.C. §§ 227, et seq., including

 16 implementing regulation 47 C.F.R. § 64.1200(c).

 17        104. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be
 18 initiated, telephone solicitations to telephone subscribers such as Plaintiffs and the

 19 National Do Not Call Registry Class members who registered their respective
 20 telephone numbers on the National Do Not Call Registry, a listing of persons who do

 21 not wish to receive telephone solicitations that is maintained by the federal

 22 government.

 23        105. Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiffs and
 24 members of the National Do Not Call Registry Class received more than one

 25 telephone call in a 12-month period made by or on behalf of Defendant in violation of

 26

 27   2
      Rules and Regulations Implementing the Telephone Consumer Protection Act of
 28 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003)
    Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03- 153A1.pdf
                                            - 19 -
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 20 of 25 Page ID #:20




  1 47 C.F.R. § 64.1200, as described above.

  2        106. As a result of Defendant’s conduct as alleged herein, Plaintiffs and the
  3 National Do Not Call Registry, are entitled, inter alia, to receive up to $500 in

  4 statutory damages under section 47 U.S.C. § 227(c)(5) for each and every such

  5 violation of 47 C.F.R. § 64.1200.

  6       107.    To the extent Defendant’s misconduct is determined to be knowing
  7 and/or willful, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount

  8 of statutory damages recoverable by the members of the National Do Not Call

  9 Registry Class, and award Plaintiffs and other similarly situated Class members of
 10 $1,500.00 in statutory damages, for each and every knowing and/or willful violation,

 11 pursuant to 47 U.S.C. § 227(c)(5).

 12        108. Plaintiffs and the Class members are also entitled to and seek injunctive
 13 relief prohibiting such conduct in the future.

 14                                     COUNT II
                               VIOLATIONS OF THE TCPA
 15                              47 U.S.C. §§ 227, ET SEQ.
 16            (On Behalf of Plaintiffs and the Internal Do Not Call List Class)
 17        109. Plaintiffs incorporate by reference all of the above paragraphs of this
 18 Complaint as though fully stated herein.

 19        110. The TCPA provides that any “person who has received more than one
 20 telephone call within any 12-month period by or on behalf of the same entity in

 21 violation of the regulations prescribed under this subsection may” bring a private

 22 action based on a violation of said regulations, which were promulgated to protect

 23 telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

 24 which they object. 47 U.S.C. § 227(c)(5).

 25        111. Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any
 26 call for   telemarketing purposes to a residential telephone subscriber unless such
 27 person or entity has instituted procedures for maintaining a list of persons who

 28 request not to receive telemarketing calls made by or on behalf of that person or

                                            - 20 -
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 21 of 25 Page ID #:21




  1 entity. The procedures instituted must meet certain minimum standards, including:

  2              (3) Recording, disclosure of do-not-call requests. If a person or
                 entity making a call for telemarketing purposes (or on whose
  3              behalf such a call is made) receives a request from a residential
                 telephone subscriber not to receive calls from that person or
  4              entity, the person or entity must record the request and place the
                 subscriber’s name, if provided, and telephone number on the
  5              do- not call list at the time the request is made. Persons or
                 entities making calls for telemarketing purposes (or on whose
  6              behalf such calls are made) must honor a residential
                 subscriber’s do-not-call request within a reasonable time from
  7              the date such request is made. This period may not exceed
                 thirty days from the date of such request . . . .
  8              (6) Maintenance of do-not-call lists. A person or entity making
                 calls for telemarketing purposes must maintain a record of a
  9              consumer’s request not to receive further telemarketing calls. A
                 do-not-call request must be honored for 5 years from the time
 10              the request is made.
 11 47 C.F.R. § 64.1200(d)(3), (6)

 12        112. Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. §
 13 64.1200(d) are applicable to any person or entity making telephone solicitations or

 14 telemarketing calls to wires telephone numbers.

 15              “(e) The rules set forth in paragraph (c) and (d) of this section
                 are applicable to any person or entity making telephone
 16              solicitations or telemarketing calls to wireless telephone
                 numbers to the extent described in the Commission's Report
 17              and Order, CG Docket No. 02-278, FCC 03-153, “Rules and
                 Regulations Implementing the Telephone Consumer Protection
 18              Act of 1991.”
 19 47 C.F.R. § 64.1200(e)
 20       113.   Plaintiffs and Class members made requests to Defendant not to receive
 21 calls from Defendant.

 22       114.   Defendant failed to honor Plaintiffs and the Class members’ requests not
 23 to receive calls from Defendant.

 24       115.   Upon information and belief, Defendant has not instituted procedures for
 25 maintaining a list of persons, including but not limited to Plaintiffs, who requested

 26 not to receive telemarketing calls made by Defendant or on their behalf, pursuant to

 27 47 C.F.R. § 64.1200(d).

 28

                                           - 21 -
                                 CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 22 of 25 Page ID #:22




  1       116.    Because Plaintiffs and the Class members received more than one text
  2 message in a 12- month period made by or on behalf of Defendant in violation of 47

  3 C.F.R. § 64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).

  4       117.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiffs
  5 and other similarly situated Class members are entitled to an award of $500.00 in

  6 statutory damages, for each and every negligent violation, pursuant to 47 U.S.C. §

  7 227(c)(5).

  8       118.    As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiffs
  9 and other similarly situated Class members are entitled to an award of $1,500.00 in
 10 statutory damages, for each and every knowing and/or willful violation, pursuant to

 11 47 U.S.C. § 227(c)(5).

 12       119.    Plaintiffs and the Class members are also entitled to and seek injunctive
 13 relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. §

 14 227(c)(5).

 15                                     COUNT III
                               VIOLATIONS OF THE TCPA
 16                              47 U.S.C. §§ 227, ET SEQ.
 17               (On Behalf of Plaintiffs and the Prerecorded Voice Class)
 18        120. Plaintiffs incorporate by reference all of the above paragraphs of this
 19 Complaint as though fully stated herein.
 20        121. The foregoing acts and omissions of Defendant constitute numerous and
 21 multiple negligent violations of the TCPA, including but not limited to each and

 22 every one of the above-cited provisions of 47 U.S.C. §§ 227, et seq.

 23        122. Defendant and/or their agents placed at several unauthorized calls to
 24 Plaintiffs’ cellular telephones using an artificial and/or prerecorded voice without

 25 Plaintiffs’ prior express consent.

 26        123. As a result of Defendant’s negligent violations of the TCPA, Plaintiffs
 27 are entitled to, and seek, an award of $500.00 in statutory damages for each violation

 28 of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) from Defendant.

                                            - 22 -
                                  CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 23 of 25 Page ID #:23




  1        124. As a result of Defendant’s violations of the TCPA, Plaintiffs are entitled
  2 to and seek injunctive relief prohibiting such conduct by Defendant violating the

  3 TCPA in the future pursuant to 47 U.S.C. § 227(b)(3)(A).

  4                                    COUNT IV
                                VIOLATIONS OF THE FTSA
  5                                FLA. STAT. § 501.059
  6               (On Behalf of Plaintiff Szanyi-Coffey and the FTSA Class)
  7        125. Plaintiffs incorporate by reference all of the above paragraphs of this
  8 Complaint as though fully stated herein.

  9        126. Defendant and/or third parties directed by Defendant made non-
 10 emergency telephone calls to the cellular telephones of Plaintiff Szanyi-Coffey and

 11 the other members of the FTSA Class using a recorded voice in violation of Fla. Stat

 12 § 501.059(8)(A).

 13        127. Under Fla. Stat § 501.059(1)(G), prior consent includes the signature of
 14 the called party, the telephone of the called party, as well as clear authorization to the

 15 person making or allowing the telephonic sales call to make the call.

 16        128. Defendant did not have prior express consent to call the cell phones of
 17 Plaintiff Szanyi-Coffey and the other members of the FTSA Class when these

 18 telephonic sales calls were made. Id.

 19        129. Defendant has, therefore, violated Fla. Stat § 501.059(8)(A) and Fla. Stat
 20 § 501.059(1)(G) by using an artificial and/or pre-recorded voice message to make

 21 non-emergency telephone calls to the cell phones of Plaintiff Szanyi-Coffey and the

 22 other members of the FTSA Class without their prior express written consent.

 23        130. Defendant knew, or should have known, that it did not have prior
 24 express consent to make such calls to Plaintiff Szanyi-Coffey and other similarly

 25 situated members of the FTSA Class. Thus, these violations by Defendant were

 26 willful or knowing.

 27        131. As a result of Defendant’s conduct and pursuant to Fla. Stat §
 28 501.059(10)(B), Plaintiff Szanyi-Coffey and the other members of the FTSA Class

                                             - 23 -
                                   CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 24 of 25 Page ID #:24




  1 were harmed and are each entitled to a minimum of $500.00 in damages for each

  2 violation.

  3                                  PRAYER FOR RELIEF
  4        WHEREFORE, Plaintiffs respectfully requests the Court grant Plaintiffs and
  5 the Class members the following relief against Defendant:

  6        • An Order certifying this action to be as a Class Action pursuant to Federal
  7              Rule of Civil Procedure 23, establishing the defined Class and any
  8              subclasses the Court deems appropriate, appointing Plaintiffs are each a
  9              proper representative of the Class, and appointing Plaintiffs’ Counsel as
 10              Class Counsel.
 11        • An Order declaring Defendant’s conduct, as alleged above, was in violation
 12              of the TCPA, the National Do Not Call provision of 47 C.F.R. § 64.1200(c),
 13              and/or Florida Statute § 501.059.
 14        • An Order enjoining Defendant from using an artificial or prerecorded voice
 15              to call message telephone numbers assigned to cellular telephones without
 16              the prior express permission of the called party.
 17        • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
 18              Plaintiffs seek for themselves and each Class member: (i) $500.00 in
 19              statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 20              227(c)(5); (ii) injunctive relief prohibiting such conduct in the future
 21              pursuant to 47 U.S.C. § 227(c)(5)(A); (iii) costs of suit; (iv) pre and post-
 22              judgment interest; (v) reasonable attorneys’ fees pursuant to, inter alia, the
 23              common fund doctrine; (vi) any other relief the Court may deem just and
 24              proper.
 25        • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
 26              227(c), Plaintiffs seek for themselves and each Class member: (i) $1,500.00
 27              in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 28              227(c)(5); (ii) injunctive relief prohibiting such conduct in the future
                                              - 24 -
                                    CLASS ACTION COMPLAINT
Case 8:23-cv-02115-DOC-KES Document 1 Filed 11/09/23 Page 25 of 25 Page ID #:25




  1            pursuant to 47 U.S.C. § 227(c)(5)(A); (iii) costs of suit; (iv) pre and post-
  2            judgment interest; (v) reasonable attorneys’ fees pursuant to, inter alia, the
  3            common fund doctrine; and (vi) any other relief the Court may deem just
  4            and proper.
  5        • As a result of Defendant’s violations of the FTSA, Fla. Stat. § 501.059,
  6            Plaintiff Szanyi-Coffey seeks for herself and each FTSA Class member (i)
  7            $500.00 in statutory damages, for each and every violation, pursuant to Fla.
  8            Stat. § 501.059(10)(b); (ii) injunctive relief prohibiting such conduct in the
  9            future; (iii) costs of suit; (iv) pre and post-judgment interest; (v) reasonable
 10            attorneys’ fees pursuant to, inter alia, the common fund doctrine; (vi) any
 11            other relief the Court may deem just and proper.
 12        • Costs of suit.
 13        • Pre-judgment and post-judgment interest, to the extent permitted by
 14            applicable law.
 15        • Reasonable attorneys’ fees to Plaintiffs’ Counsel pursuant to, inter alia,
 16            California Code of Civil Procedure § 1021.5 and the common fund doctrine.
 17        • Any other relief the Court may deem just and proper.
 18                              DEMAND FOR JURY TRIAL
 19        132. Plaintiffs are entitled to, and demand, a trial by jury on all issues so
 20 triable.

 21

 22 Dated: November 9, 2023                       Respectfully submitted,
 23                                               KAZEROUNI LAW GROUP, APC
 24

 25                                         By:      /s/ Abbas Kazerounian
 26
                                                     ABBAS KAZEROUNIAN, ESQ.
                                                     DAVID J. MCGLOTHLIN, ESQ.
 27                                                  MONA AMINI, ESQ.
 28                                                  Attorneys for Plaintiffs
                                             - 25 -
                                   CLASS ACTION COMPLAINT
